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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   KEY WEST DIVISION

                              CASE NO. 20-10101-CIV-KING/REID

 FRANCISCO RODRIGUEZ CRUZ,

         Plaintiff,

 v.

 DEPUTY CARRERAS,

       Defendant.
 ________________________________/

                                FINAL ORDER OF DISMISSAL

         THIS CAUSE is before the Court on the October 1, 2020 Report and Recommendation

 (“R&R”) (DE 5) of Magistrate Judge Lisette M. Reid. Plaintiff’s objections were due by October

 15, 2020; none were filed.

         The R&R recommends dismissing Plaintiff’s action as duplicative of the Plaintiff’s prior

 pending civil rights action, Cruz Rodriguez v. Brady, et al., No. 20-10093-CV-Moore. Upon

 consideration of the record and the R&R, the Court finds that Magistrate Judge Reid’s well-

 reasoned R&R accurately states the law of the case.

         Accordingly, it is ORDERED, ADJUDGED, and DECREED:

      1. Magistrate Judge Lisette M. Reid’s October 1, 2020 Report and Recommendation (DE 5)

         be, and the same is, hereby AFFIRMED and ADOPTED as an Order of this Court;

      2. Plaintiff’s claim under 42 U.S.C. § 1983 (DE 1) is hereby DISMISSED; and

      3. The Clerk of the Court shall CLOSE this case.




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        DONE AND ORDERED in chambers at the James Lawrence King Federal Justice

 Building and United States Courthouse, Miami, Florida, this 27th day of October, 2020.



                                                    ______________________________
                                                    JAMES LAWRENCE KING
                                                    UNITED STATES DISTRICT JUDGE

 cc:
        All counsel of record




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